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On Fe bruaVy 18, AAA at the Lake County Detention Center,

| Polson, MT. Was so overcrowded there was litewally
Seven of vs sleeping on the floor in the recreation
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cells, while a film crew came inte document

no over crowain Qs

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Dusty Sailor
Case 9:22-cv-00043-DWM Document1-1 Filed 02/24/22 Page 2 of 8
INMATE REQUEST/GRIEVANCE

* Inmate - Be sure to request yellow copy be given to you for your records.
Detention officer to fill out information below and give yellow copy to inmate.

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Inmate NameZ\c yf (usa aly DHUCLLE YEO
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( Attach additional pages if necessary )
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RESPONSE TO INMATE REQUEST/GRIEVANCE

Inmate Request/Grievance received on \U day of ; . (year)

( Officer MUST fill in all blanks in either category A or B. )

A. Immediate Response:

Explain :

(Attach additional pages if necessary )

[4 Yellow copy to inmate on day of, ; (year)

[4 Original to permanent file on day of, : (year)

B is Referred to Supervisor: (No referral if yellow copy of this form is still attached.)

4 Placed in Supervisor’s box on | day of ; .(year)

( Referral form MUST be attached).

DONE By Detention Officer. on

(Please Print)

day of ; (year)

Rev. 07/15/99 LCSO|#3

Mission Valley Printing
Cast NMATEORE QUEST/GRIEVANGE':

Additional Page [we __ of a
Inmate Name fi \ KE yen pew ; Bu Ok) EYC OL

Date |/ 31 /zz
Stuck to the walls. A thick Leveled abr ton the weal ie + hal
it acty, ally comes off with The w.sipe zk ao. finger. There 1s
lots of dried fonds malt fagpeee ‘ds all over the usalt<. There is
dried human cnot/boogers on the walls. bloody a riéd huyrayn
enot/beod ers on the walls. There is a thick layer of orimedricd
on the cei ina with a yellow tent in Some places. A thick
pungent odor in the Single ceils of maybe olal dy ied up human
“ xin. There is a thick layer of Black-Mold on the v/alls abel
comune out of the walls. No dewght there 15 black- paaba’ tin ae eels
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veuts. No dowaglitly ust th Giact- Mold anc IT am a S&F iows asthmatic
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batter a Gaal Maricmeld. The beds ave a biolutely ¢ coveted

in dirt, qrime, dried food , hair ond huyaan finger nail

: © } by gn Gel teat professionals.

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EX A ‘0 2 via coh }
then one occation. We are not given our wleek by vec, e2ation,
vitamin-D time because this detention center fs so ‘constontl

packed, Herel! ferally peoole Sleeping on the floors. Including
the recreation ye ovn.
Thank you

Lt Yellow copy to inmateon_///  dayof, Ki (year)

DONE By Detention Officer [a7 on /4; daver D2 “yy
<="“"Please Print) yorCA _, “// (year)

Rev. 07/19/13 LCSOI#3A
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Case 9:22-cv-00043-DWM Document 1-1 Filed 02/24/22 Page 4 of 8
INMATE REQUEST/GRIEVANCE

* inmate - Be sure to request yellow copy be given to you for your records.
Detention officer to fill out information below and give yellow copy to inmate.

Inmate Name

Date oe
Request: 45; - viwetis a / ; xo an tel eae ek.
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| b, i’) 2
( Attach additional pages if necessary )
RESPONSE TO INMATE REQUEST/GRIEVANCE
. pz] x atcny , 7
Inmate Request/Grievance received on / / day of [ ce bructy , £< ©. (year)
( Officer MUST fill in all blanks in either category A or B. )
A. Immediate Response:
Explain : Aff ’ ae
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Pe ae. Ti Zh /s)

(Attach additional pages if necessary )

[a : /¢} F 72
=) Yellow copy to inmate on_/ dayof, 2 ,éc (year)

is Original to permanent file on day of, ; (year)

B : Referred to Supervisor: (No referral if yellow copy of this form is still attached.)

L) Placed in Supervisor’s box on day of ; -(year)

( Referral form MUST be attached).

DONE By Detention Officer g | Is To45¢\ on / “] day of “Te Z2

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Rev. 07/15/99 LCSOI#3

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Case 9:22-cv-00043-DWM Document 1-1 Filed 02/24/22. Page 5 of 8
INMATE REQUEST/GRIEVANC

* Inmate - Be sure to request yellow copy be given to you for your records.

Detention officer to fill out information below and give yellow copy to inmate.
f ; rl |

f + = f\ |/ LFA /\ 7 | f
Inmate Name C4 €0 WC) SUOCKICUOC |
Date IK

Request: -_

( Attach additional pages if necessary )

RESPONSE TO INMATE REQUEST/GRIEVANCE

Inmate Request/Grievance received on day of : . (year)

( Officer MUST fill in all blanks in either category A or B. )

A. Immediate Response:

Explain :

(Attach additional pages if necessary )

iff

Ll Yellow copy toinmate on_/‘/ day of, els (year)

(-} Original to permanent file on /“/ day of, __/ ¢_(year)

B » _ Referred to Supervisor: (No referral if yellow copy of this form is still attached.)

i= Placed in Supervisor’s box on day of ; .(year)
( Referral form MUST be attached).
DONE By Detention Officer on _day of (year)

(Please Print)

Rev. 07/15/99 LCSO1#3

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Case 9:22-cv-00043-DWM Document 1-1 Filed 02/24/22 Page 6 of 8
INMATE REQUEST/GRIEVANCE

* Inmate - Be sure to request yellow copy be given to you for your records.
Detention officer to fill out information below and give yellow copy to inmate.

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Inmate Name A.c Kerman, Div Lhe Cd =
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er ~~ 7
(Attach additional pages if necessary )
RESPONSE TO INMATE REQUEST/GRIEVANCE
Inmate Request/Grievance received on day of : . (year)
( Officer MUST fill in all blanks in either category A or B. )
A. Immediate Response:
Explain :
( Attach additional pages if necessary )
LW etlow copy to inmate on day of, , (year)
al Original to permanent file on day of, : .(year)
B - Referred to Supervisor: (No referral if yellow copy of this form is still attached.)
kd Placed in Supervisor’s box on dayof ~ ; 2 .(year)
( Referral form MUST be attached).
DON E By Detention Officer iB on day of _ ; .~ (year)
(Please Print) ae

Rev. 07/15/99 LCSOI#3
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COIN MATE REQUEST/GRIEVANCE'®

Additional Page Two of _ 2
Inmate Name Ac Kettm pas 1S UL f LEY COL Ee

Date | ee a*[f-2022

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q-2Q1 202i, T satin the Palson/Lake ee petentionCenter
for Saven~ hours with a punctured lung and three
broken vibs before being transported + to the Polson, LAT

Emer gancy Room.

Le) Yellow copy toinmateon_|© dayof, O- , 9 (year)

DONE By Detention Officer |) J 4 >a / on | 8 day of fy |» J) (year)

(Please Print)

Rev. 07/19/13 LCSOI#3A
Mission Valley Printing

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Case 9:22-cv-00043-DWM Document 1-1 Filed 02/24/22 Page 8 of 8

§/32021

SIGNATURE: »

S)0) ema ol cunt. |

Spending Limit $30.00

ary ITEM PRIGE | | QTY _ S Price TV) Cary ITEM PRICE
Medical “Gy Chips/ Snacks 7
2077 = Antacid - Genoric - 150 ct $5.45 $011 Candy Bar - Hershey's b. $1.40 — 7133 Peanuts 7oz, $4.25
2042 Cough Drops - Mentholyptus 30 ct $1.70 ‘a 5009 Candy Bar-M& M Peanut $1.40 — 7119 Cashew's 2.507. $3.75
_. 4029 Triple Antibiotic Ointment, .5 oz $1.85) | ss 008 = Candy Bar - Snickers 7120 = Trail Mix 2.00z. $1.60
_ 2044 = Vitamin - Multiple 100 ct $6.05 5020 Three Musketeers fa 7086 = Flour Tortilla's 6c. $2.45
2025 Sugarfree Coughdrops 25 ct $3.36 5022 Reesos PB Cups —_.. ss 7092) 0S Cup o Noodle Beef $1.35
4059 Carmex Tubo $2.55] © 5010 Twix 7093 =Cup o Noodle Chicken $41.35
| 004 Skittles 7034 Cup o Noodle Spicy Chicken $1.35
6015 M&M Peanut Butter lf 7225 Pepporoni slices $4.60
— “_s s033 Little Dobbie Nutty Bar $1.10 =
Hygiene ces Wi. - $1.95
4023) Brush - Hair $2.16) [| Chocolate Mini Donuts 6ct. $1.86
2004 Deodorant - Stick, clear no alchol $2.70 J IFO) «Powdered Mini Donuts Get. $1.85
ee 2014 VO 6 Conditioner - Clear $2.70 Chips! Snacks 7079 Oreo Mini Bites $1,410
| _ 2036 VO 5 Shampoo - Clear $2.70 _ 7073 BBC Chips $4.15) { __ 7005 Famous Amos Choc. Chip. $1.10
2090 Hair Ties (no metal - limit 2) $0.30 7062 Nacho Chips $1.16 | ss 7444 Peanut Butter Granola bar $0.75
2037 Skin Care Lotion 4 oz $1.60 7064 Chili Corn Chips $1.16 _ 7118 Chocolate Chip Granola bar $0.75
4025 Qtips 100 ct $1.60 _. 7022) «Cheetos $1.35 7039 Lil Dutch Vanilla Wafors $1.90
4079 Fixodent $7.90 ss 7046 Cheez its $1.40
. } 4008 Tooth brush Cover $1.35 | 7056 Graham Crackors $2.95 Beverages
_ 2034 Dandruff Shampoo 4 oz $2.70) | ss 7434) = Wheat Crackers 9oz. $5.20 | | 6051 Sugar Free Lemonade Drink Mix 10 Ct $2.26
| 2047 Combo Bath Gel 4 oz $2.70) | 7121» Peanut Butter Crackers $0.75) | 6080 Sugar Free Fruit Punch Drink Mix 10 Ct $2.25
4060 Foarn Ear Plugs - 1 Pair $0.40 7069 JL Pepperoni stick 31.80 _ 6062 Sugar Free Orange Drink Mix 10 Ct $2.25
_ 4028 Sleeping Mask $3.20 7077 TB Boof & Cheddar sticks $4.85 6053 Sugar Free Tea Drink Mix 10 Ct $2.25
oe _ 7070 Summer Sausage Sox. $4.25 | | 6028 Koffe Instant Jaz Coffee $5.35
Office i 6034 Chocolate Health Shako 2.0oz. $3.20
| j 4005 Envelope - Large Manila $0.55 | _. 6035 Vanilla Hoalth Shake 2.0oz, $3.20
Wo 4063 Sketch Pad $2.75
4052 Tablet - Legal $2.75
Golf Pencil $0.45 Misc.
4048 Pencils Colored $3.45 4043 Crossword Puzzle (random) $3.50
4000 Enovolope - #410 $0.30 | [Failure to Remain AT or Below the $30.00 spending limit, ia 4069 Word Search (random) $3.50
- 4006 Eraser $140 | or exceeding your account balance WILL result in your _ 4077 Sudoku (random) 53.50
i 4007 Forever Stamp $0.58 order NOT being placed.

Owe

